                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:05-CR-146-002
 V.                                                )       (PHILLIPS/SHIRLEY)
                                                   )
                                                   )
                                                   )
 MICHAEL DEWAYNE DILLARD                           )

                       ORDER OF DETENTION PENDING TRIAL


               A detention hearing was held in this case on January 10, 2006. Steven Cook,

 Assistant United States Attorney, was present representing the government, and Dennis

 Francis was present representing the defendant. Before the hearing began, counsel for the

 defendant stated that the defendant wished to waive his right to a detention hearing at this

 time and reserve the right to have a hearing at a later date, if appropriate. Pursuant to the

 defendant signing a Waiver of Detention Hearing, the defendant is to be detained. 18 U.S.C.

 § 3142(f)(2)(B). The government stated they had no objections. The defendant was present

 and stated that he knew he would remain in jail pending trial. For good cause, and by

 agreement of the defendant, this detention hearing is waived and the defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure his appearance in court and the safety of the community. The

 defendant knows that if his detention hearing is waived he will remain in custody while it is


Case 3:05-cr-00146-TWP-CCS         Document 24         Filed 01/10/06   Page 1 of 2    PageID
                                         #: 16
 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:

                                       s/C. Clifford Shirley, Jr.
                                   United States Magistrate Judge




                                            -2-


Case 3:05-cr-00146-TWP-CCS        Document 24      Filed 01/10/06     Page 2 of 2     PageID
                                        #: 17
